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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Criminal Action No. 1:17-cr-00168-CMA-1

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 KAREN LYNN MCCLAFLIN

       Defendant.


                    ORDER GRANTING STAY OF SELF-SURRENDER DATE


       This matter is before the Court upon Defendant Karen McClaflin’s request that

the Court stay the date on which she must self-surrender to the Bureau of Prisons

(“BOP”) for medical reasons.

       After the Court granted Defendant two stays of her self-surrender date, see (Doc.

## 56, 66), Defendant is presently required to self-surrender on January 18, 2019. See

(Doc. ## 73, 82.) However, Defendant requests that the Court again stay the date of

Defendant’s self-surrender “for six to eight weeks” to allow medical providers to finish

her current course of intravenous antibiotic treatment and determine its success at

eradicating the deep tissue infection in her hip. See (Doc. # 83.) The Court heard

testimony from two of Defendant’s doctors, Dr. Todd Miner, her hip replacement

specialist, and Dr. Peter Brookmeyer, her infectious disease specialist, at a hearing on

January 14, 2019. See (Doc. # 81.) The Court considered a letter from the Regional
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Medical Director of the COP’s North Central Region, Dr. Paul Harvey, that addressed

the BOP’s capacity to care for Defendant’s significant medical needs. See (Doc. # 68-

1.)

       Also at the January 14, 2019, hearing, the Court raised its concern that it does

not have authority to stay a defendant’s date of self-surrender for medical reasons,

citing United States v. Connelly, No. 3:16-cr-125, 2018 WL 6309052, *3 (D. Conn. Dec.

3, 2018), and United States v. Bolton, No. 2:16-CR-7-KS-MTP, 2017 WL 1652588, *5

(S.D. Miss. May 1, 2017). See (Doc. # 81.) The Court ordered the parties to submit

simultaneous briefing on the Court’s authority within two days. (Id.) The parties filed

briefs on January 16, 2019. (Doc. ## 83, 84.)

       The Court remains concerned that it has no express authority to stay the date of

a defendant’s self-surrender for medical reasons for the reasons it identified at the

hearing, see Connelly, 2018 WL 6309052 at *3; Bolton, 2017 WL 1652588 at *5,

especially in light of the Government’s persuasive citation to a recent unpublished

opinion of the Court of Appeals for the Tenth Circuit suggesting that a district court may

not have the authority to do so, see (Doc. # 84) (citing United States v. Coddington, No.

18-1470 (10th Cir. Jan. 4, 2019) (Doc. # 84-1)).

       However, the Court credits Dr. Brookmeyer’s testimony about Defendant’s

ongoing intravenous antibiotic treatment and Dr. Harvey’s recommendation that

Defendant “continue treatment for her infection . . . to allow sufficient time to eradicate

the infection” (Doc. # 68-1). The Government has also informed the Court “that the

Bureau of Prisons would prefer some additional time to facilitate the smooth transition of


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[Defendant’s] medical care.” (Doc. # 84-1.) The Court therefore exercises its equitable

powers to stay the date on which Defendant must self-surrender for 60 days—until

March 19, 2019.

      For the foregoing reasons, the Court ORDERS:

      1. Defendant’s Motion for Reconsideration the Court’s Order on Self-Surrender

          (Doc. # 83) is GRANTED;

      2. Defendant’s self-surrender date is STAYED for 60 days, until March 19, 2019;

      3. The Court’s January 16, 2019 Order concerning Defendant’s self-surrender

          (Doc. # 82) is VACATED;

      4. Defendant shall file a status report with the Court on February 15, 2019, and

          again on March 1, 2019, apprising the Court of the most recent results of Dr.

          Brookmeyer’s blood tests on Defendant. The Court is particularly interested

          in how the biomarker for inflammation that Dr. Brookmeyer described at the

          January 14, 2019 hearing changes over time; and

      5. Defense counsel and the Government shall work together to ensure that

          Defendant’s most recent medical records are promptly disclosed to the BOP

          and that Defendant’s medical providers are put in communication with the

          relevant medical providers at BOP.

      DATED: January 16, 2019
                                               BY THE COURT:



                                               _______________________________
                                               CHRISTINE M. ARGUELLO
                                               United States District Judge

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